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         IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

SIDNEY MARTS,

            Petitioner,
v.                                    Case No. 4:19cv412-MW/MAF

MARK S. INCH, Secretary,
Florida Department of Corrections,

          Respondent.
_________________________/

       ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 28, and has also reviewed de novo Petitioner’s

objections to the report and recommendation, ECF No. 30. Accordingly

      IT IS ORDERED:

      The report and recommendation is accepted and adopted, over Petitioner’s

objections, as this Court’s opinion. As explained in the report and recommendation,

the Florida Supreme Court has the authority to issue a sanction order which is

forwarded to DOC for disciplinary action and a challenge to such sanctions is not

cognizable under § 2241.     This is not a case where the DOC takes its own

disciplinary action resulting which can be a cognizable claim assuming exhaustion

etc. The Clerk shall enter judgment stating, “Respondent’s motion to dismiss, ECF

No. 13, is GRANTED. Petitioner’s amended petition for writ of habeas corpus filed
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under 28 U.S.C. § 2241, ECF No. 5, is DISMISSED.” The Clerk shall also close

the file.

      SO ORDERED on April 23, 2020.

                                    s/ MARK E. WALKER
                                    Chief United States District Judge
